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  12
                                      UNITED STATES DISTRICT COURT
  13
                                  CENTRAL DISTRICT OF CALIFORNIA
  14
  15
  16 FRANCIS J. RACIOPPI, JR.,                           Case No. 2:20-cv-03797-FMO (JCx)
  17                     Plaintiff,                      SUPPLEMENTAL DECLARATION
  18                                                     OF DAVID J. CARROLL
                   vs.
  19
  20 DMITRY BORISOVICH BOSOV, et
     al.,
  21
  22                     Defendants.
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  28
       1564386.2                                                      Case No. 2:20-cv-03797-FMO (JCx)
                                SUPPLEMENTAL DECLARATION OF DAVID J. CARROLL
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   1                SUPPLEMENTAL DECLARATION OF DAVID J. CARROLL
   2               I, David J. Carroll, declare as follows:
   3               1.    I am an attorney licensed to practice law in the State of California, and
   4 I am admitted to practice law in this Court. I am an associate with the law firm
   5 Browne George Ross LLP (“BGR”), counsel of record for Plaintiff Francis J.
   6 Racioppi, Jr. I make this supplemental declaration in support of Plaintiff’s response
   7 to Defendants’ supplemental opposition re: attachment.
   8               2.    Attached as Exhibit 68 is a true and correct copy of a printout from
   9 Coldwell Banker Realty’s website regarding property at 0 Bolsa Road, Hollister,
  10 California, identifying a sale price of $2.35 million on May 17, 2017.
  11               3.    Attached as Exhibit 69 is a true and correct copy of e-mail
  12 communications exchanged between BGR, Michelle Lynd (former Chief Legal
  13 Officer of the Genius Fund Group), Defendant Gary Shinder, and other GFG-related
  14 persons, dated between April 2, 2020, and April 21, 2020, which did not appear to
  15 have been attached to Defendants’ supplemental opposition to Plaintiff’s application
  16 for a writ of attachment.
  17
  18               I declare under penalty of perjury that the foregoing is true and correct.
  19 Executed on May 20, 2020, at Los Angeles, California.
  20
  21                                                          /s/ David J. Carroll
                                                                David J. Carroll
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       1564386.2                                                      Case No. 2:20-cv-03797-FMO (JCx)
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                                SUPPLEMENTAL DECLARATION OF DAVID J. CARROLL
